       Case 2:22-cv-04561-MRP        Document 33       Filed 04/04/25    Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


                                              :
JOHN K.A. DOE,                                :                   CIVIL ACTION
                                              :
            Plaintiff,                        :
       v.                                     :
                                              :
THE UNIVERSITY OF THE ARTS, et al.,           :                   NO. 22-4561
                                              :
            Defendants.                       :


                                          ORDER


       AND NOW, this 4th day of April, 2025, upon consideration of the Notice of Order from

Bankruptcy Court Granting Relief From Automatic Stay (ECF No. 29), and a status conference

regarding the same, it is hereby ORDERED that the stay in this matter is LIFTED.




                                                            BY THE COURT:




                                                            Hon. Mia R. Perez
